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                       UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 JULIE AMANDA TILTON,

       Plaintiff,

 v.                                               Case No. 8:05-cv-692-T-30TGW

 PLAYBOY ENTERTAINMENT GROUP,
 INC., et. al,

       Defendants.
 _____________________________________/

                                         ORDER

       THIS CAUSE comes before the Court upon the Joint Motion for Entry of a Protective

 Order (Dkt. #170), Defendants’, Deslin Hotel’s, Irene Devlin’s, and Dennis Devlin’s, Motion

 to Compel Discovery Responses (Dkt. #170), and Playboy Defendants’ Response to Deslin

 Hotel’s, Irene Devlin’s and Dennis Devlin’s Motion to Compel Discovery Responses (Dkt.

 181). Plaintiff has entered into a settlement agreement (hereinafter, the “Settlement

 Agreement”) with the following defendants: Playboy Entertainment Group, Inc.; Playboy

 Enterprises, Inc.; Playboy Enterprises International, Inc.; Playboy.com, Inc.; Lincolnwood

 Motion Pictures, L.L.C.; Modern Entertainment, Ltd.; New City Releasing, Inc.; Image

 Entertainment, Inc.; Trans World Entertainment Corp.; Best Buy Company, Inc.; iN

 DEMAND L.L.C.; Time Warner Entertainment-Advance/Newhouse Partnership; and Cox

 Communications, Inc. (collectively, the “Settling Defendants”). Plaintiff has objected to

 Interrogatories and Requests for Production relating to the Settlement Agreement made on
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 behalf of the following defendants: Deslin Hotels, Inc. d/b/a Desert Inn Resort Motel, Irene

 Devlin, and Dennis Devlin (collectively, the “Deslin Defendants”).          This Court has

 considered the motions and the arguments of the moving parties.

        It is therefore ORDERED AND ADJUDGED that:

        1.       The Joint Motion for Entry of a Protective Order (Dkt. #170) is GRANTED.

 All parties and their respective attorneys with access to the terms of the Settlement

 Agreement are hereby prohibited from disclosing the terms and conditions of the Settlement

 Agreement to third parties.

        2.       Defendants’, Deslin Hotel’s, Irene Devlin’s, and Dennis Devlin’s, Motion to

 Compel Discovery Responses (Dkt. #180) is GRANTED in part. Within ten (10) days of

 the date hereof, Plaintiff shall respond to the Interrogatories and Requests set forth in the

 Motion to Compel and produce the Settlement Agreement to the Deslin Defendants. This

 Court reserves jurisdiction as to the award attorneys’ fees and costs pending the conclusion

 of this case.

        3.       The Deslin Defendants and their respective attorneys shall be bound by the

 confidentiality requirements of the Settlement Agreement.

        4.       The Clerk is directed to terminate the following motions as moot: (i) Motion

 for Summary Judgment and Incorporated Memorandum of Law of Defendants Time Warner

 Cable and Cox Cable (Dkt. #146); (ii) Defendants’ Dispositive Motion for Summary

 Judgment & Memorandum of Law in Support Thereof (Dkt. #154); (iii) Playboy Defendants’



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 Request for Oral Argument On Their Dispositive Motion for Summary Judgment (Dkt.

 #156); and (iv) Motion for Permission to File Video Materials Under Seal (Dkt. #155).

           5.         The Clerk is directed to terminate the Settling Defendants (as defined herein)

 from this case.

           DONE and ORDERED in Tampa, Florida on April 2, 2007.




 Copies furnished to:
 Counsel/Parties of Record
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